Case 6:21-cv-00425-JDK Document 57 Filed 01/03/22 Page 1 of 20 PageID #: 438




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION

TEXAS MEDICAL ASSOCIATION and           §
DR. ADAM CORLEY,                        §
                                        §
      Plaintiffs,                       §
                                        §
v.                                      §
                                        §
UNITED STATES DEPARTMENT OF             §    Civil Action No. 6:21-CV-00425
HEALTH AND HUMAN SERVICES,              §
DEPARTMENT OF LABOR,                    §
DEPARTMENT OF THE TREASURY,             §
OFFICE OF PERSONNEL                     §
MANAGEMENT,                             §
and the CURRENT HEADS OF THOSE          §
AGENCIES IN THEIR OFFICIAL              §
CAPACITIES,                             §
                                        §
       Defendants.


        BRIEF OF MEMBERS OF CONGRESS AS AMICI CURIAE
                  IN SUPPORT OF PLAINTIFFS
Case 6:21-cv-00425-JDK Document 57 Filed 01/03/22 Page 2 of 20 PageID #: 439




                                          TABLE OF CONTENTS

INTEREST OF AMICI CURIAE ................................................................................... 1

INTRODUCTION .......................................................................................................... 2

I. CONGRESS REJECTED THE AGENCIES’ APPROACH TO SETTING PAYMENT RATES. ..... 4

II. CONGRESS'S REJECTION OF BENCHMARK RATES REFLECTS CRITICAL POLICY
CONSIDERATIONS. ......................................................................................................... 11

CONCLUSION............................................................................................................. 14

CERTIFICATE OF SERVICE ..................................................................................... 15




                                                             i
Case 6:21-cv-00425-JDK Document 57 Filed 01/03/22 Page 3 of 20 PageID #: 440




                                       TABLE OF AUTHORITIES

                                                                                                                   Page

CASES

Azar v. Allina Health Servs.,
   139 S. Ct. 1804 (2019) ............................................................................................ 10

Baldwin v. United States,
   __ U.S. __, 140 S. Ct. 690 (2020) ............................................................................ 11

Barnhart v. Sigmon Coal Co.,
  534 U.S. 438 (2002) ............................................................................................ 9, 10

Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc.,
  467 U.S. 837 (1984) .................................................................................................. 4

City of Arlington v. FCC,
   569 U.S. 290 (2013) .................................................................................................. 9

Conn. Nat’l Bank v. Germain,
  503 U.S. 249 (1992) .................................................................................................. 9

Gulf Fishermens Ass’n v. Nat’l Marine Fisheries Serv.,
  968 F.3d 454 (5th Cir. 2020) .................................................................................... 4

I.N.S. v. Cardoza-Fonseca,
   480 U.S. 421 (1987) ................................................................................................ 10

Kisor v. Wilkie,
   139 S. Ct. 2400 (2019) .............................................................................................. 4

Marshall v. Daniel Const. Co.,
  563 F.2d 707 (5th Cir. 1977) .................................................................................. 11

Rainbow Gun Club, Inc. v. Denbury Onshore, L.L.C.,
   760 F.3d 405 (5th Cir. 2014) .................................................................................. 10

Util. Air Regul. Grp. v. EPA,
   573 U.S. 302 (2014) ................................................................................................ 11

STATUTES

42 U.S.C. § 300gg-111(a)(1) ........................................................................................... 9

42 U.S.C. § 300gg-111(a)(1)(C)(iv)................................................................................. 2

                                                            ii
Case 6:21-cv-00425-JDK Document 57 Filed 01/03/22 Page 4 of 20 PageID #: 441




42 U.S.C. § 300gg-111(a)(3)(K) .................................................................................. 2, 9

42 U.S.C. § 300gg-111(c) ................................................................................................ 2

42 U.S.C. § 300gg-111(c)(1) ........................................................................................... 9

42 U.S.C. § 300gg-111(c)(5) ........................................................................................... 9

No Surprises Act, § 102(a) (Dec. 11, 2020) ........................................................... 7, 8, 9

REGULATIONS

45 C.F.R. § 149.510(c)(4)(ii)(A) ...................................................................................... 2

86 Fed. Reg. 55980-01 (Oct. 7, 2021)........................................................................... 10

86 Fed. Reg. 55996 ....................................................................................................... 10

OTHER AUTHORITIES

166 Cong. Rec. H7290-09 (2020) ................................................................................... 9

166 Cong. Rec. H7301-02 (2020) ................................................................................... 9

Cedric M. Smith, M.D., Origin and Uses of Primum Non Nocere—Above All, Do No
  Harm!, J. of Clinical Pharmacology (Mar. 7, 2013)................................................. 6

Cong. Budget Office Cost Est., S. 1895 Lower Health Care Costs Act at 7 (June 26,
  2019), https://www.cbo.gov/system/files/2019-07/s1895_0.pdf ............................. 13

H.R. 2328, 116th Cong. §§ 402(b), (2d Sess. 2020) ....................................................... 5

H.R. 3630, 116th Cong. § 2(b) (1st Sess. 2019) ................................................... 4, 5, 10

H.R. 5800, 116th Cong. §§ 2(a), 4(b) (2d Sess. 2020) .............................................. 5, 10

H.R. 5826 116th Cong. § 7(a) (2d Sess. 2020) ........................................................... 6, 7

H.R. Rep. No. 116-615 Pt. 1 (2020) ........................................................................... 5, 9

Influence of Out-of-Network Payment Standards on Insurer-Provider Bargaining:
   California’s Experience, American Journal of Managed Care (Aug. 5, 2019),
   https://www.ajmc.com/view/influence-of-outofnetwork-payment-standards-on-
   insurer-provider-bargaining-californias-experience?p=1 ..................................... 13

Letter of Am. College of Emergency Physicians to Departments at 22 (Dec. 6, 2021),
   https://www.regulations.gov/comment/CMS-2021-0156-1046 .............................. 12


                                                            iii
Case 6:21-cv-00425-JDK Document 57 Filed 01/03/22 Page 5 of 20 PageID #: 442




Letter of Am. Med. Ass’n to Departments at 5 (Dec. 6, 2021),
   https://www.regulations.gov/comment/CMS-2021-0156-5178 .............................. 12

Michael McAuliff, Doctors Are Mad About Surprise Billing Rules, NPR (Nov. 22,
   2021), https://www.npr.org/sections/health-
   shots/2021/11/22/1057985191/becerra-defends-hhs-rulesaimed-at-reining-in-
   surprise-medical-bills ............................................................................................... 3

New York’s 2014 Law to Protect Consumers from Surprise Out-of-Network Bills
  Mostly Working as Intended: Results of a Case Study, Georgetown University
  Health Policy Institute (May 2019),
  https://georgetown.app.box.com/s/6onkj1jaiy3f1618iy7j0gpzdoew2zu9 ............... 14

Press Release, House Committee on Energy & Commerce, Congressional Committee
   Leaders Announce Surprise Billing Agreement (Dec. 11, 2020),
   https://energycommerce.house.gov/newsroom/press-releases/congressional-
   committee-leaders-announce-surprise-billing-agreement ...................................... 7

Press Release, Rep. Richard Neal, Neal and Brady Release Legislative Text of
   Surprise Medical Billing Proposal (Feb. 7, 2020),
   https://neal.house.gov/news/documentsingle.aspx?DocumentID=2014 ................. 6

S. 1531, 116th Cong. §§ 3(a) (1st Sess. 2019) ............................................................... 6

S. 1895, 116th Cong. § 103(a) (1st Sess. 2019) ............................................................. 4




                                                            iv
Case 6:21-cv-00425-JDK Document 57 Filed 01/03/22 Page 6 of 20 PageID #: 443




                             INTEREST OF AMICI CURIAE 1

       Amici are members of Congress, as well as healthcare providers, who are

devoted to crafting policies that lower healthcare costs and improve access to quality

care. Although amici reflect a variety of healthcare backgrounds, they are united as

lawmakers in their view that the challenged interim final rule in this case defies the

policy choices Congress expressly made in the No Surprises Act. The rule instead

adopts an approach that Congress rejected. Amici are particularly concerned about

the negative repercussions on access to quality healthcare as a result of the rule.

       As elected officials who both possess insight into the intent of the No Surprises

Act—most of whom had intimate involvement in crafting and negotiating the bill—

and who also bring a wealth of healthcare experience to the table, amici are uniquely

positioned to explain how and why Congress came to pass the No Surprises Act as

written. Amici have a strong interest in guarding the prerogatives of the legislative

branch and ensuring that administrative agencies respect the limits of their

delegated authority.

       Amici are: Andy Harris, M.D. (MD-01), Michael C. Burgess M.D. (TX-26),

Roger Marshall M.D. (R-KS), Brian Babin, D.D.S. (TX-36), Larry Bucshon, M.D. (IN-

08), Earl L. “Buddy” Carter, R.Ph. (GA-01), Scott DesJarlais, M.D. (TN-04), Neal P.

Dunn, M.D. (FL-02), Ronny L. Jackson, M.D. (TX-13), John Joyce, M.D. (PA-13),

Mariannette J. Miller-Meeks, M.D. (IA-02), Gregory F. Murphy M.D. (NC-03),

Jefferson Van Drew, D.M.D. (NJ-02).


1 No person or entity other than amici and their counsel assisted in or made a monetary contribution
to the preparation or submission of this brief.
Case 6:21-cv-00425-JDK Document 57 Filed 01/03/22 Page 7 of 20 PageID #: 444




                                      INTRODUCTION

        In the No Surprises Act, Congress set forth a precise methodology for resolving

disputes between insurers and healthcare providers over the price of out-of-network

medical services. 42 U.S.C. § 300gg-111(c). These disputes arise when patients

unexpectedly receive healthcare from outside of their insurance networks, such as in

emergencies or where patients choose their hospital but not ancillary providers (e.g.,

anesthesiologists). Before the No Surprises Act, insurers paid a portion of the out-of-

network costs or rejected the bill entirely, and then patients received a bill for the

rest.

        The No Surprises Act provides that instead of patients receiving such bills,

insurers and providers negotiate a price that insurers will pay. 2                  Id. § 300gg-

111(c)(1)(A). If negotiations fail, they can ask an independent arbiter to choose

between the insurer’s proposed price and the provider’s proposed price. Id. § 300gg-

111(c)(1)(B).    The arbiter must determine the price based on a list of multiple,

statutorily enumerated factors. Id. § 300gg-111(c)(5)(C).

        Despite Congress’s unambiguous statutory directives, the administrative

agencies in this case 3 singled out one factor—the “median” in-network rate calculated

by insurers—as the benchmark against which arbiters must pick what price insurers

pay. Id. § 300gg-111(a)(3)(E); 45 C.F.R. § 149.510(c)(4)(ii)(A). That interpretation of

the No Surprises Act effectively predetermines the outcome of nearly all such


2 The exception is that, where states have mandated out-of-network rates, then state law determines

the amount paid. See 42 U.S.C. § 300gg-111(a)(1)(C)(iv), (a)(3)(K).
3These agencies are the Department of Health and Human Services, Department of Labor,
Department of the Treasury and Office of Personnel Management.
                                                2
Case 6:21-cv-00425-JDK Document 57 Filed 01/03/22 Page 8 of 20 PageID #: 445




disputes. The effect is to thwart Congress’s expressly enacted policy of requiring

arbiters to impartially weigh multiple economic and situational factors in choosing

the appropriate price. Indeed, Congress repeatedly rejected proposals to mandate

payment at the median in-network rate.

      Congress did so for important policy reasons, and its policy judgment is entitled

to respect.    Mandating a presumption in favor of median in-network rates

significantly undermines the only tool a provider has to negotiate a fair price, which

risks distorting private market dynamics by artificially setting prices. The nation’s

already stressed healthcare system could become over-strained, leading to fewer

providers and services. Congress thus favored a “first, do no harm” approach that

incentivizes insurers and providers to settle their own disputes through reasonable

negotiations and does not incentivize insurers to lower in network rates and narrow

networks.

      Ignoring these concerns, the agencies apparently take the blinkered view that

providers “are overcharging,” and “either have to tighten their belt . . . or they don’t

last in the business.” See Michael McAuliff, Doctors Are Mad About Surprise Billing

Rules, NPR (Nov. 22, 2021) (quoting Health and Human Services Secretary Xavier

Becerra), https://www.npr.org/sections/health-shots/2021/11/22/1057985191/becerra-

defends-hhs-rulesaimed-at-reining-in-surprise-medical-bills.

      The agencies’ actions in this case reflect a bold usurpation of legislative power.

Congress took care, in bipartisan legislation, to balance competing interests. The

agencies have now reworked Congress’s statutory scheme based on their own policy


                                           3
Case 6:21-cv-00425-JDK Document 57 Filed 01/03/22 Page 9 of 20 PageID #: 446




preferences. The agencies’ actions offend the separation of powers and should be set

aside.

I.       CONGRESS REJECTED THE AGENCIES’ APPROACH TO SETTING PAYMENT
         RATES.

         The legislative history of the No Surprises Act confirms the statute’s plain

meaning: Congress did not enact—and instead rejected—a presumption favoring

median in-network rates in price disputes between insurers and out-of-network

providers. See Gulf Fishermens Ass’n v. Nat’l Marine Fisheries Serv., 968 F.3d 454,

459–60 (5th Cir. 2020) (confirming that where “text, structure, history, and purpose”

shows “Congress has directly spoken to the precise question at issue,” then courts

“must give effect to the unambiguously expressed intent of Congress” (quoting Kisor

v. Wilkie, 139 S. Ct. 2400, 2415 (2019) and Chevron, U.S.A., Inc. v. Nat. Res. Def.

Council, Inc., 467 U.S. 837, 842, 843 & n.9 (1984))).

         Before Congress passed the No Surprises Act, lawmakers proposed various

bills that mandated payment of the median in-network rate in price disputes between

insurers and out-of-network providers. Each of these proposals failed to become law.

         For example, the “Lower Health Care Costs Act” expressly required the

“[e]stablishment of [a] [b]enchmark,” such that insurers “shall pay providers . . . the

median in-network rate.” See S. 1895, 116th Cong. § 103(a) (1st Sess. 2019). The bill

contemplated no negotiation between insurers and providers. Id.

         Similarly, the initial version of the “No Surprises Act” proposed that insurers

pay “the recognized amount,” less patient copay or coinsurance. See H.R. 3630, 116th

Cong. § 2(b) (1st Sess. 2019). The bill defined “recognized amount” as either no more

                                            4
Case 6:21-cv-00425-JDK Document 57 Filed 01/03/22 Page 10 of 20 PageID #: 447




than the state-mandated amount plus patient copay or coinsurance or, for states

without mandates, “at least the median contracted rate.” Id. § 2(a).

      Other proposals mandated payment of median in-network rates, unless those

rates met a minimum threshold amount for the disputed service. See H.R. 5800,

116th Cong. §§ 2(a), 4(b) (2d Sess. 2020) (“Ban Surprise Billing Act”) (allowing

mediation where median in-network rate for disputed service was at least $750); H.R.

2328, 116th Cong. §§ 402(b), (2d Sess. 2020) (“No Surprises Act,” as included in the

“Reauthorizing and Extending America’s Community Health Act”) (allowing

mediation where median contracted rate was at least $1250). In those situations, the

parties could seek independent dispute resolution, wherein arbiters had to pick one

party’s offered price based on consideration of multiple factors, including median in-

network rates, providers’ training and experience, and the patient’s acuity or

complexity of services provided. See id.

      These bills rested on the view that mandating insurers to pay, and out-of-

network providers to accept, median in-network rates will lower healthcare costs. See

H.R. Rep. No. 116-615 Pt. 1, at 57 (2020) (arguing that as between independent

dispute resolution and “benchmark” rate-setting, “benchmark rates will . . . slow the

rapid growth of health care costs . . . by . . . reducing providers’ bargaining power”).

      Other lawmakers proposed competing bills in stark contrast to those that

favored using median in-network rates as the benchmark for out-of-network rates.

These bills allowed insurers and providers to negotiate their own prices or to pursue

independent dispute resolution, regardless of the amounts of disputed claims. The


                                           5
Case 6:21-cv-00425-JDK Document 57 Filed 01/03/22 Page 11 of 20 PageID #: 448




idea was to incentivize insurers and providers to take reasonable positions in pricing

disputes, resulting in a relatively fair process that would “first, do no harm.” E.g.,

Press Release, Rep. Richard Neal, Neal and Brady Release Legislative Text of

Surprise        Medical         Billing          Proposal       (Feb.        7,       2020),

https://neal.house.gov/news/documentsingle.aspx?DocumentID=2014). 4

       One proposal was the “STOP Surprise Medical Bills Act of 2019,” which

provided that insurers would initially pay providers “the median in-network rate,”

but either party could negotiate an alternative amount or seek independent dispute

resolution. See S. 1531, 116th Cong. §§ 3(a) (1st Sess. 2019). In choosing between

the parties’ offered prices, the bill required arbiters to treat “in-network rates” as just

one factor for consideration, alongside the providers’ training and experience, the

parties’ relative market share, the circumstances and complexity of the services, any

good faith efforts by the parties to contract (or lack thereof), and “other relevant

economic aspects.” Id.

       Another proposal was the “Consumer Protections Against Surprise Medical

Bills Act of 2020,” which essentially unpegged the payment in such disputes from

median in-network rates. Instead, it allowed “open negotiation” between insurers

and providers. See H.R. 5826 116th Cong. § 7(a) (2d Sess. 2020). If negotiations

failed, either party could initiate a “mediated dispute process.” Id. To determine

whose offered price to select, the bill required arbiters to consider any “information




4See also Cedric M. Smith, M.D., Origin and Uses of Primum Non Nocere—Above All, Do No Harm!,
J. of Clinical Pharmacology (Mar. 7, 2013) (exploring origins of ancient axiom).
                                             6
Case 6:21-cv-00425-JDK Document 57 Filed 01/03/22 Page 12 of 20 PageID #: 449




relating to such offer[s]” that the parties submitted, as well as information the

arbiters requested and the “median contract rate.” Id.

      Ultimately, the various factions of Congress came together in December 2020

and announced a bipartisan, bicameral agreement “to protect patients from surprise

medical bills and establish a fair framework to resolve payment disputes between

health care providers and health insurance companies.” See Press Release, House

Committee on Energy & Commerce, Congressional Committee Leaders Announce

Surprise           Billing          Agreement           (Dec.         11,       2020),

https://energycommerce.house.gov/newsroom/press-releases/congressional-

committee-leaders-announce-surprise-billing-agreement.

      This compromise legislation rejected the “benchmark” approach and, instead,

adopted independent dispute resolution as the way to resolve these pricing disputes.

It provided that insurers would pay an “out-of-network rate,” defined as either the

state-mandated rate, an agreed upon amount, or an amount chosen by independent

arbiters. See id. (providing link to compromise bill); No Surprises Act, §102(a) (as

agreed to by various committees on Dec. 11, 2020).              If the parties pursued

independent dispute resolution, the compromise bill set forth a specific method for

arbiters to choose between their offered prices. Specifically, the bill said arbiters

“shall consider”

             the qualifying payment amounts . . . for the applicable year
             for items or services that are comparable . . . and . . .

                     (I)     The level of training, experience, and quality
                             and outcomes measurements of the provider
                             or facility . . .

                                             7
Case 6:21-cv-00425-JDK Document 57 Filed 01/03/22 Page 13 of 20 PageID #: 450




                   (II)    The market share held by the out-of-network
                           health care provider or facility or that of the
                           plan or issuer . . .
                   (III)   The acuity of the individual receiving such
                           item or service or the complexity of
                           furnishing such item or service . . .
                   (IV)    The teaching status, case mix, and scope of
                           services of the [out-of-network] facility . . .
                           [and]
                   (V)     Demonstrations of good faith efforts (or lack
                           of good faith efforts) made by . . . to enter
                           into network agreements . . .

See id. The bill defined “qualifying payment amount” (“QPA”) as “the median of the

contracted rates” recognized by insurers. Id.

      This compromise legislation won support from key House and Senate

committee leaders who previously sponsored competing bills, including Senators

Lamar Alexander and Patty Murray (“Lower Health Care Costs Act,” S. 1895); Rep.

Frank Pallone and Rep. Greg Walden (“No Surprises Act,” H.R. 3630); Rep. Robert

Scott and Rep. Virginia Foxx (“Ban Surprise Billing Act,” H.R. 5800); and Rep.

Richard Neal and Rep. Kevin Brady (“Consumer Protections Against Surprise

Medical Bills Act,” H.R. 5826). See id.

      Indeed, a press release announcing the agreement quoted “the bipartisan,

bicameral Committee leaders” as describing the No Surprises Act as a deal to, inter

alia, “promote fairness in payment disputes between insurers and providers.” Id.

These leaders confirmed that the No Surprises Act “means . . . what it says”:

             If the parties choose to utilize the IDR process, both parties
             would each submit an offer to the independent arbiter.
             When choosing between the two offers the arbiter is
             required to consider the median in-network rate,
             information related to the training and experience of the
             provider, the market share of the parties, previous
                                           8
Case 6:21-cv-00425-JDK Document 57 Filed 01/03/22 Page 14 of 20 PageID #: 451




              contracting history between the parties, complexity of the
              services provided, and any other information submitted by
              the parties.

See id.; Barnhart v. Sigmon Coal Co., 534 U.S. 438, 461–62 (2002) (“[C]ourts must

presume that a legislature says in a statute what it means and means in a statute

what it says there.” (quoting Conn. Nat’l Bank v. Germain, 503 U.S. 249, 253–54

(1992))).

       Consistent with the Committee leaders’ joint statement, various lawmakers

praised the No Surprise Act’s inclusion in the 2021 Consolidated Appropriations Act

as a culmination of efforts to reach a compromise for the benefit of patients. See 166

Cong. Rec. H7290-09 (2020) (statement of Rep. Shalala praising “long-fought and

negotiated bipartisan and bicameral compromise” and statement of Rep. Cole

“applaud[ing]” committees “for coming to this important compromise”); 166 Cong.

Rec. H7301-02 (2020) (statement of Rep. Hoyer noting inclusion of “legislation that

protects patients from surprise bills by removing them from the fight between

insurers and providers and implanting a fairer process for resolving disputes”).

       This history confirms what the No Surprises Act’s text makes plain: “Congress

has directly spoken to the precise question at issue.’” City of Arlington v. FCC, 569

U.S. 290, 296 (2013). Congress had before it a binary decision. It could pick the

benchmark-rate approach, or the independent dispute resolution approach. See H.R.

Rep. No. 116-615 Pt. 1, at 56 (“Two payment rate options have emerged as the

predominant contenders . . .”). Congress plainly chose the latter. See 42 U.S.C.

§ 300gg-111(a)(1), (a)(3)(K), (c)(1), (c)(5).



                                                9
Case 6:21-cv-00425-JDK Document 57 Filed 01/03/22 Page 15 of 20 PageID #: 452




      In direct contravention of Congress’s policy choice, the agencies wrote post-hoc

rules requiring arbiters to “begin with the presumption that the QPA is the

appropriate out-of-network rate” and “select the offer closest to the QPA unless . . .

credible information submitted by either party clearly demonstrates that the QPA is

materially different from the appropriate out-of-network rate.” See “Requirements

Related to Surprise Billing; Part II,” 86 Fed. Reg. 55980-01 (Oct. 7, 2021).

      Apparently dissatisfied with the No Surprises Act’s text, the agencies advance

implausible readings and even their own “policy considerations.” See 86 Fed. Reg. at

55996. “Dissatisfaction, however, is often the cost of legislative compromise. And

negotiations surrounding enactment of this bill tell a typical story of legislative

battle,” wherein the statute’s “delicate crafting reflected a compromise among highly

interested parties.” Barnhart, 534 U.S. at 461.

      The record shows that “Congress had before it—and rejected—a much more

direct path to th[e] destination” that the agencies ascribe to the statute. See Azar v.

Allina Health Servs., 139 S. Ct. 1804, 1812 (2019). Congress clearly knew how to

write legislation mandating that insurers pay out-of-network providers the median

in-network rate—and it chose not to do so. See S. 1895; H.R. 3630, H.R. 5800.

      “Few principles of statutory construction are more compelling than the

proposition that Congress does not intend sub silentio to enact statutory language

that it has earlier discarded in favor of other language.” I.N.S. v. Cardoza-Fonseca,

480 U.S. 421, 442–43 (1987); cf. Rainbow Gun Club, Inc. v. Denbury Onshore, L.L.C.,

760 F.3d 405, 410 (5th Cir. 2014) (reasoning that history supported statute’s ordinary


                                          10
Case 6:21-cv-00425-JDK Document 57 Filed 01/03/22 Page 16 of 20 PageID #: 453




meaning where Congress already rejected bill reflecting proposed alternative

reading); Marshall v. Daniel Const. Co., 563 F.2d 707, 714–15 (5th Cir. 1977)

(similar).

       Whatever the agencies’ “bureaucratic policy goals,” they had no power to

“rewrit[e] unambiguous statutory terms.” See Util. Air Regul. Grp. v. EPA, 573 U.S.

302, 325–26 (2014). “This . . . usurpation by the Executive is not a harmless transfer

of power.” Baldwin v. United States, __ U.S. __, 140 S. Ct. 690, 691 (2020) (Thomas,

J., dissenting from denial of certiorari). As the history of the No Surprises Act

exemplifies, our Constitution purposely restricts Congress’s “legislative power by

dividing it between two Houses that check each other.” Id. By contrast, “[w]hen the

Executive exercises . . . legislative power, . . . it does so largely free of these

safeguards.” Id. (internal citation omitted). The agencies’ actions are an affront to

these bedrock principles and must not stand.

II.    CONGRESS’S REJECTION OF BENCHMARK RATES REFLECTS CRITICAL POLICY
       CONSIDERATIONS.

       Congress’s decision to reject mandating payment of median in-network rates

rests on its judgment that any policy addressing “surprise medical billing” should put

providers and insurers on equal footing when settling payment disputes. Alternative

approaches mandating payment of median in-network rate were rejected largely

because a benchmark system provides a structural advantage to insurers when

negotiating out of network payments. Over time, that inures to the detriment of

providers, patients, and the American healthcare system as a whole.



                                         11
Case 6:21-cv-00425-JDK Document 57 Filed 01/03/22 Page 17 of 20 PageID #: 454




      Practically speaking, the dispute resolution scheme now contemplated by the

agencies poses at least two problems that Congress expressly sought to avoid when

creating a payment negotiation process of open negotiations between insurers and

providers. First, creating a presumption that the appropriate payment amount is the

median in-network rate risks distorting already complex market dynamics in our

healthcare system in a way that will likely lead to systematic underpayment of in-

network and out-of-network providers. Second, and relatedly, those distortions will

create unforetold harms to patients culminating in reduced access to affordable

care—the very type of harm the No Surprises Act was supposed to help cure.

      First, mandating payment of median in-network rates risk market distortions

because such rates do not necessarily account for the costs of providing care in the

unique circumstances of each billing dispute.    See Letter of Am. Med. Ass’n to

Departments at 5 (Dec. 6, 2021), https://www.regulations.gov/comment/CMS-2021-

0156-5178. Rather, they reflect the outcomes of intricate contract negotiations that

involve many factors. For example, some providers might trade higher rates for

increased payment certainty and patient volumes. See Letter of Am. College of

Emergency     Physicians     to   Departments      at    22    (Dec.    6,   2021),

https://www.regulations.gov/comment/CMS-2021-0156-1046.

      Under a benchmark system where insurers only pay in network rates to out of

network providers, providers lose leverage to negotiate in network rates, leaving

insurers incentivized to lower those rates or drop higher cost providers from their




                                        12
Case 6:21-cv-00425-JDK Document 57 Filed 01/03/22 Page 18 of 20 PageID #: 455




network. This would in turn lead to inadequate payment to in-network and out-of-

network providers.

      Congress    was    aware    that   such     mandated   rates   risked   systematic

underpayment, including to those providing front-line emergency care in life-and-

death situations. See Cong. Budget Office Cost Est., S. 1895 Lower Health Care Costs

Act at 7 (June 26, 2019) (estimating average payment rates dropping by 15 percent

to 20 percent below current average), https://www.cbo.gov/system/files/2019-

07/s1895_0.pdf. Congress’s decision to eschew a benchmark system—and instead

enact an open dispute resolution process with multiple criteria considerations—

clearly indicates an intent to avoid the risks that the agencies’ interpretation would

now invite.

      Second, the predictable market distortions that will take place here risk

creating a system of chronic underpayment to providers for services; this will, of

course, lead to reduced access to care. Systematic underpayment would result in

significant financial strain for some providers, which may result in closures,

consolidation, or sales to private equity.   Further, this system would likely have the

effect of narrowing networks as there will be little incentive to insurers to entice

providers to join their network since the payment to out of network providers is likely

to be the same or nearly the same as those to in network providers. Congress was

also concerned that such mandated rates risked narrowed networks, which would

also decrease patient access to care.        See Influence of Out-of-Network Payment

Standards on Insurer-Provider Bargaining: California’s Experience, American


                                             13
Case 6:21-cv-00425-JDK Document 57 Filed 01/03/22 Page 19 of 20 PageID #: 456




Journal of Managed Care (Aug. 5, 2019), https://www.ajmc.com/view/influence-of-

outofnetwork-payment-standards-on-insurer-provider-bargaining-californias-

experience?p=1.

      The agency’s action here is extraordinarily consequential.     It reworks the

statutory scheme that Congress designed, which aimed to create a fair process that

encourages reasonable negotiations.    See, e.g., New York’s 2014 Law to Protect

Consumers from Surprise Out-of-Network Bills Mostly Working as Intended: Results

of a Case Study, Georgetown University Health Policy Institute (May 2019),

https://georgetown.app.box.com/s/6onkj1jaiy3f1618iy7j0gpzdoew2zu9.      Given the

potential unforetold harms to patients, it is implausible that Congress would use

“such a subtle device” as to authorize the agency to remake the out-of-network

payment markets. See MCI, 512 U.S. at 231.


                                  CONCLUSION

      The agencies’ actions should be set aside.



   Dated: January 3, 2022                  Respectfully submitted,

                                            /s/ John C. Sullivan
                                           John C. Sullivan
                                           Texas Bar No. 24083920
                                           S|L LAW PLLC
                                           610 Uptown Blvd., Suite 2000
                                           Cedar Hill, TX 75104
                                           T: (469) 523-1351
                                           F: (469) 613-0891
                                           john.sullivan@the-sl-lawfirm.com

                                           Counsel for Members of Congress
                                           as Amici Curiae
                                         14
Case 6:21-cv-00425-JDK Document 57 Filed 01/03/22 Page 20 of 20 PageID #: 457




                         CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing document was filed electronically

in compliance with Local Rule CV-5(a). As such, this document was served on all

counsel who have consented to electronic service on January 3, 2022.

                                          /s/ John C. Sullivan
                                          John C. Sullivan




                                        15
